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                       EXHIBIT “V”
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   From: Brian Shevland <Shevland@yahoo.com>
   Sent: Monday, August 9, 2021 7:55 PM
   To: Patrick Orlando
   Cc: Alex Monje
   Subject: Re: Digital World Funding Closed

   Thank you Natalie. I never heard from Patrick or Alex today so hopefully we can put this to bed
   tomorrow. I will be around all day and look forward to having this completed as soon as possible.

   Sincerely,
   Brian

   Sent from my iPhone


           On Aug 9, 2021, at 1:02 PM, Patrick Orlando <porlando@beneinvest.com> wrote:


           Hi Brian,

           This is Natalie- I'm monitoring Patrick's emails.

           Patrick is currently traveling (in transit with limited Wi-Fi access) and along with
           Alex is working on the IPO. I have made Alex aware of your email and he will be
           reviewing and responding shortly. Thank you.

           Best,
           Natalie on behalf of
           Patrick F. Orlando
           Founder and CEO
           BENEINVEST.COM         VIEW BIO     SPACs




           Notice - The information contained in this email is confidential and is for use only by the intended
           recipient. If you are not the intended recipient, you must not disclose or use the information in this
           email in any way. If you received it in error, please advise us immediately by return email and
           delete the document.

           From: Brian C. Shevland <shevland@yahoo.com>
           Sent: Monday, August 9, 2021 12:09 PM
           To: Patrick Orlando <porlando@beneinvest.com>; Patrick Orlando
           <porlando@beneinvest.com>
           Subject: Fw: Digital World Funding Closed


           Patrick,

           I assume the email below does not impact my personal investment into
           DWAC along the lines of our agreement, our communications last week,
           and the spreadsheet I sent you. I would feel a lot more comfortable if I can
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         wire in my investment amount in today/tomorrow, and not worry that this
         slips through the cracks somehow. Are we in agreement on the $100,000
         investment amount and corresponding shares? Let me know as soon as
         possible.

         Sincerely,

         Brian


         ----- Forwarded Message -----
         From: Alex Cano <acano@beneinvest.com>
         To: Shevland@yahoo.com <shevland@yahoo.com>
         Cc: Patrick Orlando <porlando@beneinvest.com>; Alex Monje
         <amonje@beneinvest.com>; Horacio Cruz <hcruz@beneinvest.com>; Natalie Salume
         <nsalume@beneinvest.com>; Reilly. May <rmay@beneinvest.com>
         Sent: Monday, August 9, 2021, 09:58:06 AM GMT-4
         Subject: Digital World Funding Closed

         Dear Valued Consultant,

         We are writing to inform you that as of last Thursday, August 5th, Digital World
         Acquisition Corp. was fully funded, and therefore, our funding effort for ARCII is now
         closed.

         We are also happy to inform you that fundraising for future SPAC efforts has already
         commenced, and we can discuss directing any overflow interest towards these efforts.

         We want to thank you, again, for your interest in Digital World Acquisition Corp.

         Thank you and best regards,

         Alex Cano
         Chief Operating Officer




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